    Case 4:20-cv-00447-ALM Document 172 Filed 08/07/24 Page 1 of 1 PageID #: 5240




                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                     SHERMAN DIVISION


     BRIAN HUDDLESTON,

               Plaintiff,

     vs.
                                                            Case No. 4:20-cv-447-ALM
     FEDERAL BUREAU OF
     INVESTIGATION and UNITED STATES
     DEPARTMENT OF JUSTICE

               Defendant


                                                 ORDER

           The Plaintiff’s Unopposed Motion for Extension of Time (Dkt. #171) is now before the

.   Court. The Court finds Plaintiff's motion should be and hereby is GRANTED, and Plaintiff’s

    deadline for filing a reply to Defendant’s Response to Plaintiff’s Motion to Substitute Parties is

    extended to September 4, 2024.

           IT IS SO ORDERED.
           SIGNED this 7th day of August, 2024.




                                          ___________________________________
                                          AMOS L. MAZZANT
                                          UNITED STATES DISTRICT JUDGE
